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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable John A. Mendez
United States District Judge
Sacramento, California

                                          RE:    Gavrilo Spaich
                                                 Docket Number: 2:08CR00440-02
                                                 PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Belgrade, Serbia, for a two week period.
He is current with all supervision obligations, and the probation officer recommends
approval be granted.

On July 12, 2011, Gavrilo Spaich was sentenced to a term of imprisonment for a period of
24 months after pleading guilty to 18 USC 371 - Conspiracy, a Class D felony, and 18 USC
152 - Concealment of Assets, a Class D felony. In that matter, Mr. Spaich filed for
bankruptcy and failed to disclose a personal residence which he had owned, while having
his daughter withdraw equity from the residence for personal use.

Prior to his incarceration, Mr. Spaich was the owner of a massive prune packing company,
which was forced to close business operations due to poor fiscal management. While
incarcerated, Mr. Spaich's daughter once again started up the family business which
appears to be gaining traction. Since his release from the Bureau of Prisons custody in
April 2013, Mr. Spaich has reconnected with many of his old business contacts throughout
Japan and China. Mr. Spaich indicates that due to the short crop of prunes in California,
he has supplied old customers with product from Serbia. Part of this agreement requires
Mr. Spaich to inspect the product upon packing. As such, the releasee is requesting Your
Honor’s permission to travel to Serbia to oversee the packing of his shipment of prunes in
December, 2013. Mr. Spaich indicated he would be able to provide documentation to the


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undersigned upon his return to the United States, which would verify the validity of the
business trip.


Sentence imposed: 24 months custody of the Bureau of Prisons; 24 month term of
supervised release; $200 special assessment; $5,000 fine (paid in full).


Dates and Mode of Travel: If approved by the Court, Mr. Spaich will attempt to purchase
airline tickets for a departing flight in the middle of December, 2013, and would return to
the Eastern District of California within 10 days of said flight.


Purpose: Business trip to Belgrade, Serbia.

                                 Respectfully Submitted,


                                   /s/ Garey R. White
                                   GAREY R. WHITE
                            United States Probation Officer

DATED:       December 9, 2013
             Sacramento, California
             GRW/sg


REVIEWED BY:           /s/ Jeffrey C. Oestreicher
                     JEFFREY C. OESTREICHER
                     Supervising United States Probation Officer




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ORDER OF THE COURT:

Approved     X

       12/9/2013                            /s/ John A. Mendez______________
Date                                        HONORABLE JOHN A. MENDEZ
                                            United States District Court Judge




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